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   Fill irr tlris inforrration to identify yoLlr crase                                                                                      r'1i   FItffiD                  -i

  United States Bankruptcy Court for the:
                                                                                                                                      ar-+. o'clock a6rin A-nr
                                                                                                                                      ^r4
                 District of              Carolina
                                                                                                                                                   API? i o ?025
  case number (tt      known):_chapter   you are filing under:
                                     q ChapterT                                                                                        United States Bankruptcy Court
                                     U chapter                                  11
                                                                                                                                         Columbia, South Carolina
                                     g Chapter 12
                                     U Chapter 13                                                                                                  E Chect< if this is an
                                                                                                                                                      amended filing


 Official Form 101
 Voluntarv Petition for lndividuals Filinq for Bankruotcv                                                                                                                        06t24
 The bankruptcy forms use you and D6tor l lo refer to a debtor flllng alone. A married couple may file a bankruptcy case togethsr---called a,ybinf caee-and
 in joint cases, these forms use you to ask for lnformation from both debtors, For example, if a form asks, "Do you own a car," the answer would be yes if
 either dsbtor owns a car, When information is needed about tho spouses separately, the form uses Oebfo r I and Debtor 2 to dletinguish between them. ln
 joint casee, one of the spouses must report informatlon as Debtor 1 and the other as Debtbr 2. The same pel€on must be Debfor f in all of the forms.

 Bo as comploto and a@urate as posslble. lf two maried people are filing together, both are equally responsibte for supplylng correct information. lf more
 space is needed, attach a separate sheet to this form. On the top of any additlonal pages, write your name and case number (lf known), Answer every
 questlon.

  Part 1: ldentlfy Yourself

                                                    About Debtor l:                                                 About Debtor2 {Spouse Only in a Jolnt Gase):
        Your full name
                                                     Jacoueline                                                     Terry
        Write the name that is on your              First name                                                      Firsl name
        govemment-issued picture                     Elizabeth                                                       Frank
        identification (for example, your
                                                    Middle name                                                     Middle name
        driver's license or passport).
                                                     Ard                                                             Nicola
        Bring your picture identification           Last name                                                       Last name
        to your meeiing with the trustee.

                                                    Sutrix (Sr., Jr, ll, lll)                                       Suffix (Sr., Jr, ll, lll)




  z. All other names you have
        used in the last 8 years                    Fir€t narne                                                     First name

       lnclude your married or maiden
       names and any assumed, trade                 Middl€ name                                                    Middle name
       names and doing business as
       names.
                                                    Last name                                                      Lasl name
       Do NOT list the name of any
                                                     Global Management Group LLG                                    Beachside Estates LLC
       separat€ legal entity such as a
                                                    Business name (if applicabte)                                  Business namo (if applicable)
       corporation, partnership, or LLC
       that is not flling this petition.             Beachside Estates LLC                                          Global Management Group LLC
                                                    Business name (if applicable)                                  Business name (if applicable)




  3. Only the last 4 diglts of your                 xxx   -xx-g 7 4 I                                              xxx xx          8216
       Social Security number or
       federal lndividual Taxpayer                  OR                                                             OR
       ldentlflcation number
       (rTlN)
                                                    9xx    xx-                                                     9xx     xx




Official Form 101                                                  Voluntary Petltion for Individuals Filing for Bankruptcy                                                      page 1
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  Debtor 1           Jacqueline         Elizabeth                  Ard
  Debtor 2           Terry              Frank                      Nicola                                          Case number (lf known)
                     First Name         Middle Name                Last Name



                                         About Debtor     l:                                            About Debtor 2 (Spouse Only ln a Jolnt Case):


   4. Your Employer ldentification        61-16                     0 4111                               I8-r                 0 0I4                31
       Number (ElN), lf any.             EIN                                                            EIN


                                          8 8-1                0 0I            4 31                      6 1-1               6 0 4 1 1                   1
                                         EIN                                                            Eift'-

                                                                                                        lf Debtor 2 lives at a dlfferent addrese :
   5. Where you llve
                                         239 Beach Cltv Rd Unit 3218                                     663 Wlllam l.llllon Pa rkwav Unit 4408
                                         Number           Slreet                                        Number           Slreet




                                         Hilton Head lsland, SC 299264718                               Hilton Head lsland, SC 29928
                                        City                                   Stale ZIP Code           City                                  State ZIP Code
                                         Beaufort                                                       Beaufort
                                        County                                                          County

                                        lf your malllng address is difierent from the one above,        F Debtor 2's mailing address ls different from yours, fill
                                        flll ft ln here. Note that the court will send any notices to   ft in here. Note that the court will send any notices to you
                                        you at this mailing address.                                    at this mailing address.

                                         21215 Dartmouth Dr                                             21215 Dartmouth
                                        Number           Street                                         Number           Street



                                        P.O. Box                                                        P.O. Box


                                         Southfield, Ml 48076-5634                                      Southfleld, M|48076
                                        City                                   Stat6     ZIP Code       City                                  State ZIP Code


  6. Why you are choosing tt is

                                                                                                        r
                                        Check one:                                                      Check one:
       districtlo file for bankruptcy
                                        4      Over the last 180 days before filing this petition, I
                                               have lived in this dishict longer than in any other
                                                                                                               Overthe last 180 days before filing this petition, I
                                                                                                               have lived in this diskict longer than in any other
                                               district.                                                       district.

                                        B4 haue another reason. Explain.                                d       n r"another reason. Explain.
                                               (See 28 U,S.C. S 1408)                                          (See 28 U.S.C. S 1408)

                                                 Ewc*4s
                                                                         Ao*hwe
                                                                   \




Official Form 101                                     Voluntary Petltion for lndividuals Filing for Bankruptcy                                                       page 2
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  Debtor 1             Jacqueline      Elizabeth                Ard
  Debtor 2             Terry           Frank                    Nicola                                          Case number (if known)
                       First Name      Middle Name              Last Name



 E![|t"u            the Gourt About your Bankruptcy Gase

   7. The chapterofthe Bankruptcy      Check one. (For a brief description of each, see Noflce Required by 11 U.S.C. S 342{b) for lndividuals Filing for
       Code you are chooslng to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           tr     chaoter 7
                                       tr     chaDter 11
                                       q      chapter 12
                                       g      chapter 13



   8. How you will pay the fee         E I *ln pay the entlre fee when I file my petltion. Please check with the clerk's office in your local court for more
                                            details about how you may pay, Typically, if you are paying the fee yourself, you may pay with cash, cashie/s
                                            check, or money order. lf your attorney is submitting your payment on your behalf, your attomey may pay with
                                            a credit card or check with a pre-printed address.

                                       D I need to pay the fee in installments. lf you choose this option, sign and attach the Applba tion for tndividuats
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                       E I request that my fue be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income ls less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). lf you
                                            choose this option, you must fill out the Appllcation to Have the ChapterT Filing Fee Waived (Official Form
                                            1038) and file it with your petition.



  g. Have you filed for bankruptcy     Euo.
       wlthin the last 8 years?
                                       sl Yes' District District of South Garollna              When 1010412024 Case number 24-03611
                                                                                                    MM/DD/YYYY
                                                 District Eastern District of Michigan When 01t3112025                      Casenumber 2540952
                                                                                                       MM/DD/YYYY
                                       4d.oisrrictM                                             wnen    \ptw6V,
                                                                                                       MM / DD /YYYY
                                                                                                                            Case number    ,rev
  10. Are any bankruptcy cases         MNo.
       pendlng or being filed by a
       spouse who is not filing this   EYes' Debtor                                                                     Relationship to you
       case wlth you, or by a
       buslness partner, or by an                District                                     When                      Case number, if known
       affiliate?                                                                                    MM/DD/YYYY

                                                Debtor                                                                  Relationship to you   _
                                                District                                _ When                          Case number, if known
                                                                                                     MM / DD /YYYY




  l{. Do you rent your residence? il No. Go to line 12.
                                  D yes. Has your landlord obtained an eviction judgment against you?
                                         E No. Go to line 12.
                                         I Yes. Fill out /nftial Sfatement About an Eviction Judgment Againsf You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petftion for lndlviduals Filing for Bankruptcy                                                   page 3
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  Debtor 1            Jacqueline            Elizabeth                Ard
  Debtor 2            Terrv                 Frank                    Nicola                                        Case number (if known)
                      First Name            Middle Name              Last Name


  Part 3: Report About Any Buslnctses You Own as a Sole Ploprictor

    12. Ateyou a sole proprietor of         M No. eo to Part 4.
       any full- or part.time
       business?                            E Yes. Name and location of business
       A sole proprietorship is a
       business you operate as an                Name of business, if any
       individual, and is not a separate
       legal entity such as a
       corporation, partnership, or LLC.         Number         Street

       lf you have more than one sole
       proprietorship, use a separate
       sheet and attach it to this
       petition.
                                                City                                                State           ZIP Code


                                                 Check the approplate box to describe your buslness.'

                                                D Health Care Business (as defined in 11 U.S.C. S 101(2740
                                                fJ Single Asset Real Estate (as defined in 11 U.S.C. $ 101(SlB)
                                                fl Stockbroker (as defined in 11 U.S.C. S 101(b3A))
                                                fJ Commodity Broker (as defined in 11 U.S.C. S 101(6))
                                                E Noneoftheabove

   13. Are you flllng under Ghapter         lf you are filing under Chapter 11, the coud must know whether you are a small business debtor so that it can set
       11 ofthe Bsnkruptcy Gode,            appropriate deadlines. lf you indicate that you are a small business debtor, you must aftach your most recent balance
       and are you a srnallbasiness         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
       debtor?                              exist, follow the procedure in 11 U,S,C. S 1116(1 XB).

       For a definition of sma// buslness   M o.f.f       I am not filing under Chapter 11.
       debtor, see 11 U.S.C. S
       101(51D).                            E no.         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in th€
                                                          Bankruptcy Code.

                                            D Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                            I Y"".        I am filing under Chapter '11,1 ama small business debtor according to the definition in the
                                                          Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 1i.




Official Form 101                                       Voluntary Petltion for Individuals Filing for Bankruptcy                                                  page 4
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  Debtor 1           Jacqueline          Elizabeth                Ard
  Debtor 2           Terry               Frank                    Nicola                                          Case number (if known)
                     Fhst Name           Middle Name              Last Name


  Part 4: Report if You Own or Have Any Hazardoui Property or Any Property That Needs lmmedlate Attentlon

   14. Do you own or have any            M ruo.
       property that poses or ls
       alleged to pos€ a threat of       E Yes. What is the hazard?
       imminent and identiflable
       hazard to public health or
       safegf Or do you own any
       property that needs immediate
       attention?                                      lf immediate attention is needed, why is it needed?
       For example, do you own
       perishable goods, or livestock
       that must be fed, or a butlding
       that needs urgent repairs?

                                                       Where is the property?
                                                                                 Number        Street




                                                                                 City                                            Slate     ZIP Code




Official Form 101                                      Voluntary Petltion for lndlviduals Filing for Bankruptcy                                       page 5
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  Debtor 1           Jacqueline           Elizabeth                Ard
  Debtor 2           Terry                Frank                    Nicola                                          Case number (if known)
                     First Name           Middle Name              Last Name


  Part 5: Explain Your Effotts to Rcceive a Briefing About Credit Gounsellng

   15. Tell the court whether you        About Debtor I                                                 About Debtor 2 (Spouse Only ln a Joint Case):
        have received a briefing
       about credit counseling.
       The law requires that you         You must check one:                                            You must check one:
       receive a briefing about credit
       counseling before you file for    M I received a brlefing from an approved credit                M I received a briefing from an approved credit
       bankruptcy. You must truthfully        counseling agency within the 180 daya belore I                 counseling agency wlthin the 180 days before I
       check one of the following             filed this bankruptcy petition, and I recefued a               filed this bankruptcy petition, and I received a
       choices. lf you cannot do so,          certifi cate of completion,                                    certlfi cate ot completion,
       you are not eligible to file.
                                              Aftach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
       lf you file anyway, the court          plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
       can dismiss your case, you will
       lose whatever filing fee you      E I received a briefing from an approved crcdit                f]   I received a brlefing from an approved credit
       paid, and your creditors can          counseling agency within the 180 days before I                  counseling agency within the 180 days before I
       begin collection activities           filed this bankruptcy petition, but I do not have a             filed thie bankruptcy petition, but I do not have a
       again.                                certifi cate of completion.                                     certifi cate of completion.
                                             Wthin 14 days after you file this bankruptcy petition,          Within 14 days afler you file this bankruptcy petition,
                                             you MUST file a copy of the certificate and    payment          you MUST file a copy of the certificate and payment
                                             plan, if any.                                                   plan, if any.

                                         E t certify that I asked for credit counseling services tr          I certify that I asked for crcdit counsellng services
                                             ftom an approved agency, but was unable to                      from an approved agency, but was unable to
                                             obtain those servlces during the 7 days after I                 obtain those services during the 7 days after I
                                             made my request, and oxigent circumstances                      made my request, and exigent clrcumstances
                                             merit a 30day temporary waiver of the                           merit a 30"day temporary wafuer of the
                                             requlrement.                                                    requlrement.
                                             To ask for a 30-day temporary waiver of the                     To ask for a 30-day temporary waiver of the
                                             requirement, aftach a separate sheet explaining                 requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why you           what efforls you made to obtain the briefing, why you
                                             were unable to obtain it before you filed for                   were unable to obtain it before you filed for
                                             bankruptcy, and what exrgent ctrcumstances                      bankruptcy, and what exigent circumstances
                                             required you to file this case.                                 required you to file this case.

                                              Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                              dissatisfted with your reasons for not receiving a             dissatisfied with your r€asons for not receiving a
                                              briefing before you filed for bankruptcy,                      briefing before you liled for bankruptry.

                                             lf the court is satisfi€d with your reasons, you must           lf the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.         still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,           You must file a certificate from the approved agency,
                                             along wilh a copy of the payment plan you                       along with a copy of the payment plan you
                                             developed, if any. lf you do not do so, your Gtse may           developed, if any. lf you do not do so, your case may
                                              be dismissed.                                                  be dismissed.

                                             Any extension of the 30day deadline is granted    only          Any extension of the 30day deadline is granted only
                                             for cause and is limited to a maximum of 15     days.           for cause and is limited fo a maximum of 15 days.

                                         E I am not requlred to receive a briefing about credit        D t am not requlred to recelve a briefing about credit
                                             counseling because of:                                          counseling because of:
                                             E hcapacity. I have a mental illness or a mental                E lncapacity. I have a mental illness or a mental
                                                                 deflciency that makes me                                      deficiency that makes me
                                                                 incapable of realizing or making                              incapable of realizing or making
                                                                 rational decisions about finances.                            rational decisions about finances.
                                             fl   Oisability. My physical disability causes me               n     Disability. My physical disability causes me
                                                                 to be unable to participate in a                              to be unable to participate in a
                                                                 briefing in person, by phone, or                              briefing in person, by phone, or
                                                                 through the internet, even after I                            through the intgrnet, even afler I
                                                                 reasonably tried to do so.                                    reasonably tried to do so.
                                             fl   ective duty, I am currently on active military             E Adive duty. I am currently on active military
                                                                 duty in a military combat zone.                               duty in a military combat zone.

                                             lf you believe you are not required to receive a                lf you believe you are not required to receive a
                                             briefing about credit counseling, you must file a               briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.          motion for waiver of credit counseling with the court.

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  Debtor 1           Jacqueline               Elizabeth                Ard
  Debtor 2                                    Frank                    Nicola                                          Case number (lf known)
                     First Name               Middle Name              Last Name


  Part 6: Ansutcr Thege Questions for Reporting Purposes

   16. What kind of debts do you                 16a. Are your debts primarily consumer debte? Consumer debts are defined in 11 U.S.C. $ 101(8) as
       have?                                          'incurred by an individual primarily for a personal, family, or household purpose."
                                                       M r.ro. co to tine 16b.
                                                       E Yes. Go to tine 17.
                                                 16b. Are your debts primarlly buslness debts? Buslness debfs are debts that you incuned to obtain money
                                                      for a business or investment or through the operation of the business or investment.
                                                       fl ruo. Go to tine 16c.
                                                       M Y"". Go to line 17.
                                                 16c. State the type of debts you owe that are not consumer debts or business debts.



   17. Ara you flling under Chapter 7?           g No. am not filing under Chapter 7. Go to line 18.
                                                              I

       Do you estlmate that aft€r any            tr   Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
       exempt property is excluded                            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
       and admlnistrative exponses are                            Euo
       paid that funds will be avallable                          E yes
       for distrlbution to unsecured
       cr€dltors?

  18. How many creditors do you                  M r+s              E r,ooo-s,ooo            fl zs,oot-s0,000 E s0,000-100,000 U More than 100,000
       estimate that you owe?                    I so-ss E s,oor-ro,ooo
                                                 E roo-rss I ro,oor-zs,ooo
                                                 I zoo-sgs
  19. How much do you estimata your              [ $o-$so,ooo                         f] $t,ooo,oor-$10 mirion                   fl $soo,ooo,oo1-$1 bilion
      asaets to be worth?                        E $so,oor-$roo,ooo                   D $ro,ooo,oo1-gso minion                   [ $r,ooo,ooo,oo1-$10 birion
                                                 [ $roo,oor-$soo,ooo                  D $so,ooo,oo1-$'roo mirion                 [ $ro,ooo,ooo,oo1-$sobirion
                                                 El $soo,oot-$ r mirion               f] $roo,ooo,oo1-$Eoo minion                f,] Uor" than $50 billion

  20. How much do you estimate your              E $o-gso.ooo                         fl $t,ooo,oot-$10 mirion                   E $soo,ooo,oo1-$1 birion
      llabilltles io ba?                         [ $so,oor-$roo,ooo                   [ $ro,ooo,ool-$bomirion                    E $r,ooo,ooo,oo1-$10 birion
                                                 M sroo,oor-ssoo.ooo                  E $so,ooo,oo1-$1oomifiion                  I gro,ooo,ooo,ool-$bo binion
                                                 E $soo,oot-$1 miilion                f] $roo,ooo,oo1-$5oo mirion                I    More than $50 billion

 Parl 7r Sign Below

  For you                         I have examined     this petition, and I declare under penalty of perJury that the information provided is true and correct.
                                  lf I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7 , 11 ,12, or 13 of title 11 , United
                                  States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  lf no attorney reptesents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                  have obtained and read the notice required by 11 U.S.C. S 342(b).
                                  I request relief in accordance with the chapter of title 11 , United States Code, specified in this petition.
                                  I understand                                 concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy                              up to $250,000, or imprisonment for up to 20 years, or both. 1B U.S.C. SS '152, 1341, 1519,
                                  and 3571.


                                    x
                                                                     , Debtor 1                          Terry Frank Nicola, Debtor 2
                                        Executed on 04109t2025                                           Executed on 04/09/2025
                                                          MI\IU DD/ YYYY                                                 MM/ DD/ YYYY




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   Debtor 1           Jacquellne             Ellzabeth               Ard
   Debtor 2           Terry                  Frank                   Nlcola                                          Case number (tf known)
                      Flrst Name             Middle Name             Last Name



     For your attorney, lf you are             l, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
     represented by one                        proceed under Chapter 7 , 1'l, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                               each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) lhe notice required by
     lfyou are not representod by an           11 U.S.C. S 342(b) and, in a case in which S 707(bX4XD) applies, certiff that I have no knowledge after an inquiry
     attomey, you do not need to file thig     that tho information in the schedules filed with lhe petition is incorrect,
     pags,


                                               x                                                                      Date 04/09/2025
                                                                                                                           MM/ DD/ YYYY
                                                    Signature of Attomey for Debtor




                                                    Jacouellne Ard
                                                   Printed name

                                                    Global Manaqement Grouo
                                                   Firm name

                                                    2'1215 Dartmorrth
                                                   Number Sheet


                                                   Soulhfield                                                        MI      48076
                                                   City                                                            State ZIP Code


                                                   Contact phone (313) 770-7051                      Email address ghbAl![anaggment525@omail.com




                                                   Bar rrurrrber                                                   State




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                                           IN THE UNTTED STATES BANKRUPTCY COURT
                                                DISTRICT OF SOUTH CAROLINA
                                                     COLUMBIADMSION
lN RE: Ard, Jacqueline Ellzabeth                                           CASE NO
       Nicola, Terry Frank
                                                                           CHAPTER 13




                                                           OF CREDITOR MATRIX

 The above named Debtor hereby verifies             list          is true and conect to the best of his/her knowledge.



Date                           Signature
                                                                                     Debtor

Date 0410912025                Signature
                                                           Terry Frank Nicola, Joint Debtor
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                           AAdvantage Aviator
                           Portfolio Recovery
                           PO Box 8828
                           Wilmington, DE 19899-8828

                           ADT Security Services
                           1501 Yamato Road
                           Boca Raton,FL 33431

                           ADT Security Services
                           P.O. Box 650485
                           Pittsburgh, PA 15250

                           ADT, LLC
                           Transworld Systems Inc
                           500 Virginia Dr. Suite 514
                           Ft Washington, PAl9304

                           Allstate Indemnity
                           PO Box 4310
                           Carol Stream, lL 60197

                           Allstate fnsurance
                           P.O. Box 21169
                           Roanoke, VA 24018-0537

                           Amerlcan Express -
                           AXP LEGALATTORNEY
                           500 North Franklin Turnpike No. 315
                           MAIL CADE297
                           Ramsey, New Jersey 07446

                           American Express National Bank
                           c/o Becket and Lee LLP
                           PO Box 3001
                           MalvernPA 19355-0701

                           Americollect fnc
                           PO Box 2080
                           Manitowoc WI 5 4221-20 80
                                     "

                           Armstrong Cable
                           P.O. Box 300
                           Lancaster, PA 17604-3001
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                           Associated Credit Services, INC
                           P.O. Box 1201
                           Tewksbury, MA 01876

                           Association Services, An Associa Company
                           CIO Hilton Head Resort
                           1040 William Hilton Pky #200
                           Hilton Head Island, SC 29928

                           ATandT
                           P.O. BOX 5080
                           Carol Stream, IL 60197 -6080

                           AWA Collections
                           P.O. BOX 6605
                           Orange, CA 92863

                           Bank ofAmerica
                           P.O. Box 982238
                           El Paso TX79998

                           Barclays Bank l)elaware
                           Attention: Card Services LEGAL
                           PO. Box 8833
                           Wilmington, DE 19899-8833

                       Barry Mullis
                       239 BeachCity Road Apt 2213
                       Hilton Head Island,SC 29926-4713

                       Beaufort County Sheriff s Department
                       Melissa Hansen
                       PO. Box 1758
                       Beaufort, SC 29901

                       Beaufort County Treasurer
                       P.O. Drawer 487
                       Beaufort, SC 29901 -0487

                       Beaumont Medical Transport Services
                       950 West Maple St Suite C
                       Troy, MI48084

                       Braun Kendrick Finkbeiner PLC
                       Mitchell G. Piper
                       4301 Fashion Square Blvd
                       Saginaw, MI48603
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                           Capital One Auto Financeo a division of
                           AIS Porfolio Services, LLC
                           4515 N Santa Fe Ave. Dept. APS
                           Oklahoma City, OK 73118

                        Capone-Kohls
                        P.O. Box 3115
                        Milwaukee, Wl 5320I-3 1 I 5

                        Carter-Young, fnc.
                        120 2nd St 2nd
                       Fl Monroe, GA 30655

                       CBE Group Spectrum Mobile
                       Attn: Client Services
                       P.O.Box2547

                       Chase Card Services
                       P.A.Box6294
                       Carol Stream, IL 60197

                       Citibank
                       PO Box 790034
                       St. Louis, MO 63179-0034

                       Citicorp Credit Services
                       Attn: IRU
                       PO. Box 790034
                       St. Louis, MO 63179

                       Citizens Bank
                       One CitizensPlaza
                       Providence, RI 02903

                       City of Detroit - Property Tax
                       P.O. Box 33193
                       Detroit, NII 48232-5 lg3

                       Clare Counfy 55th Judicial Circuit
                       225 West Main
                       Harrison, Ml43625

                      Comenity Caesars Rewards
                      P.O. Box 650960
                      Dallas, TX75263-0960

                      Comenity - Zales
                      PO Box 65097t
                      Dallas, TX75265-0971
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                           Comenity Portfolio Refresh
                           3095 Loyalty Circle
                           Columbus, OH43219

                           Consumers Energy Company
                           Attn: Legal Dept
                           One Energy Plaza
                           Jackson, Ml4920l

                           Counfy Council Of Beaufort County Assessor
                           Real Property Services
                           P.O.Drawer 1229
                           Beaufort, SC 29901

                           Credit Management Company
                           PO Box 16346
                           Pittsburgh, P A 15242-0346

                           Credit One Bank
                           PO Box 98875
                           Las Vegas, NV 89193-8875

                           Crown Asset Mgmt
                           3100 Breckinridge Blvd Ste725
                           Duluth, GA 30096-7605

                           Cuyahoga Community College
                       700 Carnegie Ave.
                       Cleveland, OH 44115

                       Dave Yost OH Attorney General
                       Attn: Timothy Sullivan
                       18013 Cleveland Pkwy Suite 180
                       Cleveland, OH 44135

                       Dillon McCandless King Coulter and Graham,
                       LLP
                       128 West Cunningham Street
                       Butler, PA 16001

                       Dish NetworkllC
                       9601 S. Meridian Blvd
                       Englewood, CO 80112

                       Diverse Funding
                       3580 Harlem Rd Suite 6
                       Cheektowaga, NY l42l 5 -2045
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                           DNF Associates
                           2351 N Forest Road Suite 110
                           Getzville, NY 14068

                           DTE
                           I Energy Plaza
                           WCB 735 Attention Legal Dept
                           Detroit, M.I48226-1221

                           Duquesne Light
                           Payment Processing Center
                           P.O. BOX 67
                           Pittsburgh, PA 15257-0001

                           Enterprise Rental Car
                           600 Corporate Park Drive
                           St. Louis, Missouri 63105

                           Fifth Third Bank
                           MD No. ROPSOS Bankruptcy Dept
                           1850 East Paris SE
                           Grand Rapids, MI 49546-6253

                           First Enerry - Penn Power
                           PO Box 16001
                           Reading, PA 19612-6001

                           Firstsource Advantage, LLC
                       205 Bryant Woods South
                       Amherst, N Y 14228

                       f,'orefront Dermatolog5r
                       801 York Street
                       Manitowoc,WI 54220

                       Fortiva - Bob's Discount Furniture
                       P.O. Box 650721
                       Dallas, T){75265-0271

                       Go Store It
                       33 Parameter Road
                       Bluffton, SC 29910

                       Garry Masterson, Weltman,
                       Weinberg and Reis Co, LPA
                       5990 West Creek Road suite 200
                       Independence, Ohio 4413I
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                           George B. Smythe
                           4000 S. Faber Place Dr Suite 300
                           Charleston, SC 29405

                           Georgia Traffic
                           PO Box 80447
                           Conyerso GA 30013

                           Go Store It
                           1249 Avondale Rd
                           Hendersonville, TN 3707 5

                           Greensky
                           PO. Box 2730
                       Alpharetta, GA 30023

                       Hargray Communications-Cable One Inc
                       856 William Hilton Parkway
                       Hilton Head Island, SC 29928-3423

                       Hilton Head Resort-Four Seasons Centre
                       HHR Council of Owners
                       Attn: Board of Directors
                       663 Wiliam Hilton Parkway
                       Hilton Head Island, SC 29928-3508

                       Home Depot
                       Centralized Bankruptcy
                       P,O, Box 790034
                       St. Louis, MO 63179-0034

                       Home Depot Loan
                       PO Box 2730
                       Alpharett4 G A 30023 -27 30

                       Master In Equity
                       102 Ribaut Road 2nd Floor
                       Beaufort, 5C29902

                       Honorable Nicola Henry-Taylor
                       Allegheny Court of Common Pleas
                       7 12 City -County Building
                       414 Grant St
                       Pittsburg, PA 15219
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                           Ian D. Maguire and Tiffany Buflkin
                           Maguire Law Firm
                           1600 North Oak Street Suite B
                           Myrtle Beach, 5C29577

                           Janet Spineili
                           100 Kensington Blvd Apt NO. 918
                           Bluffton, SC29910-7481

                           Jannine M. Mutterero Esq.
                           5 Cedar Street
                           Bluffton, SC 29910

                           John Curtis
                           100 Kensington Blvd Apt NO. 1603
                           Bluffton, SC29910-7490

                           Jordan Tax Service
                           102 Rahway Road
                           McMurray, P A I 53 17 -33 49

                       JPMCB Card Services
                       PO Box 15369
                       Wilmington, DE 19850 -5369

                       JPMORGAN Chase Bank
                       Bankruptcy Mail Intake Team
                       700 Kansas Lane Floor 01
                       Monroe, LA71203-4774

                       JPMorgan Chase Bank, N.A.
                       slblmlt Chase Bank USA, NA.
                       c/o Robertson, Anschutz, Schneid, Crane
                       6409 Congress Avenue, Suite 100
                       Boca Raton, FL 33487

                       JPMorgan Chase Bank, N.A.
                       s/b/m/t Chase Bank USA, N.A.
                       c/o National Bankruptcy Services, LLC
                       P.O. Box 9013 Addison, Texas 75001

                       Judy Vanderryeer
                       663 William Hilton Parkway Apt 3l2l
                       Hilton Head Island, SC 29928-3524
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            Midland Credit Management
            320 East Big Beaver Suite 300
            Troy, MI48083
            Monevo Inc
            8910 University Cntr Lane Suite 400
            San Diego, CA92I22

           Morgan S. Templeton
           145 King Street Suite 300
           Charleston, SC 29402

           Mr. Cooper
           P.O. Box 619094
           Dallas, TX7526l

           National Credit Sysfems
           Attn: Bankruptcy
           PO Box 672288
           Mariett4 GA 30006-0039
           Nationstar Mortgage
           PO Box 199111
           Dallas, TX752l9-9lll

           Nationwide Credit Inc
           1225 Washington St Ste 301
           Tempe, A285288

           NES
           2479 EdisonBlvd Unit A
           Twinsburg, OH 44087

           Norman's
           24777 Telegraph Rd
           Southfield, MI48033

           NORTHSTAR LOCATION SERVICES
           4285 GENESEE STREET
           CHEEKTOWAGA, NY 14225-1943
          O{fice Depot Business Credit
          Dept 563-8406380360
          P.O. Box 70612
          Philadelphia, PA 79 17 6-0612

          Office of Sheriff Beaufort County
          P.O. Box 1758
          Beaufort, SC 29901
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            Office Depot
           P.O. Box 78004
           Phoenix, A285062


           Ohio Turnpike EZ Pass
           PO Box 94672
           Cleveland, OH 44101


           PA Dept of Revenue
           Bureau of Individual Taxes
           PO. BOX 280s04
           Harisburg, PA 17128-0504
           PA Turnpike Toll By Plate
           PO. Box 645631
           Pittsburgh, P A I 5264-5254

           Peoples Gas
           PO. Box 644760
           Pittsburgh, P A I 5264-47 60

           Pioneer Foot Care
           2021 Freepo Rd
           Amold, PA 15068
           Pittsburgh Water and Sewer
           1200 Penn Ave
           Pittsburgh, PA 15222

           Pittsburgh,PA 13242
           UPMC
           P.O. Box 371472
           Pittsburgh, PA15242

           PLYMOUTH ROCK ASSURANCE
           695 ATLANTIC AVE
           BOSTON, MA 021I1

           PNC Bank
           1900 E 9th st
           Cleveland, AH 44114

          Pods Legal Dept
          280 Leetsdale Industrial Dr, Suite 200
          Leetsdale, PA 15056

          Pods Legal Dept
          5585 RioVistaDr
          Clearwater, FL33760
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            Portfolio Recovery
            P.O. Box 8828
            Wilmington, DE 19899-8828
           Progressive Insurance
           Cainc and Weiner
           PO. Box 55848
           Sherman Oaks, CA 91413

           Quantum3 Group LLC as agent for
           Crown Asset Management LLC
           PO Box 788
           Kirkland, WA 98083-0788

           QuantumS Group LLC as agent for
           Crown Asset Management LLC
           PO Box 788
           Kirkland, WA 98083-0788
           Radius Global Solutions
           7831 Glenroy Road Suite 250
           Minneapolis, MN 55439

           Resurgent Receivables, LLC
           Resurgent Capital Services
           PO Box 10587
           Greenville, SC 29603-0587

           Ronald Zold
           I Long Cnnc Ct
           Bluffion, 5C 29909-7113
           S.C, Dept of Revenue and Taxation
           P.O. Box 125
           Columbia, SC29214
           SC Department of Revenue
           Office of General Counsel
           3004 Outlet Pointe Blvd
           Columbia, SC29210
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           Scott M. Wild
           37 New Orleans Road Suite F
           Hilton Head Island, SC 29928
           Semina Delaurentis
           66 Quail Run
           Torrington, CT 067 90-25 49

           Shannon Cummings
           302 N. Lake St
           Harrison, Ml48625

           South Carolina Dept of Motor Vehicles
           PO Box 1498
           Blythewood, SC 2901 6-0028
           Spectrum Mobile
           Credit Control, LLC
           3300 Rider Trail S, Suite 500
           Earth City, MO 63045

           Synchrony Bank
           PO Box 669809
           Dallas, TX75266-0170

           Synergetic Communication
           PO. Box 680608
           Franklin, TN 37068
           T Mobile
           CO American Infosource LP
           4515 N Santa Fe Ave
           Oklahoma City, OK 73118-7901

          T-Mobile
          PO Box 742596
          Cincinnati, OH 4527 4-2596
          Tamara Slank
          14686 Oakwood Drive
          Shelby Township, MI 483 1 5-1530

          Tate and Kirlin Assoc
          4800 East Street Rd Suite 170
          Trevose, PA 19053

          TBOM-ATLS-Fortiva
          6 Concourse Parkway
          2nd Floor-mailroom
          Atlanta, GA 30328-6117
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            TD Bank
            PO Box 84037
            Columbus, GA 3 I 908-4037

           TD Bank North NA
           70 Gray Road
           Falmouth, M8041052299

           TD Bank USA-Target Credit
           PO Box 673
           Minneapolis, MN 55440-067 3

           The Herfz Corporation
           8501 Williams Road
           Estero, FL 33928-3325

           The Huntington National Bank
           5555 Cleveland Avenue GW4W25
           Columbus, OH4323l

           The Huntington National Bank
           PO Box 89424 OPC856
           Cleveland, OH 441 01 -8539

           Ticket Division
           PA Tumpike EZ Pass
           300 East Park Dr
           Harrisburg, PA 17111

           Traffic Magistrate
           4819 Bluffton Parkway
           Blufton, SC299l0-4622
           I]PMC
           Credit Management Company
           P.O. Box 16348

          US Department of Education
          C/O Nelnet
          121 South 13th Street
          Lincoln, NE 68508

          Verizon Wireless Bankruptcy Admin
          500 Technology Drive, Suite 550
          Weldon Spring, MO 63304

          Viking Client Services
          Hertz Damage Recovery Team
          7500 Office Ridge Circle, Suite 100
          Eden Prairie, MO 55344-3763
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           Chase Ink Business Card Services
           P.O. Box 15298
           Wilmington, DE 198506548
           Wells Fargo Bank
           PO. Box 5058
           Portland, OR 97208-5058

           West Virgina Trafc Division
           300 Spruce St
           Morgantown, WV 26505
           West Yirginia EZ Pass
           PO Box 1469
           Charleston, WV 25325
           'Woodlands
                       at St Barnabas
           Attn: Tom Breth
           128 West Cunningham Street
           Butler, PA 16001
           Youngstown State University
           I Tressel Way
           Youngstown, OH 44555

           Zeidmans
           2669 Gratiot Ave
           Detroit MI48207
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                                Nationstar Mortgage, LLC
                               James Page
                               Bell Carrington Price & Gregg, LLC
                               339 Heyward St, Second Floor
                               Columbia, SC 29207-4390

                               Norman Jewelry and Loan
                               24777 Telegraph Suite B
                               Southfield, MI 48034




                               Palmetto Electric
                               Attn: Michelle Tyler
                               111 Matthews Drive
                               Hilton Head Island, SC 29926



                               Polly Nicola
                               2583 Lower Assembly Drive
                               Fort Mlll, SC 29708




                               Progressive Insurance
                               30440 Lakeland Blvd
                               Wickliffe, OH 44Q92




                               Taybron Law Firm LLC
                               3399 Churchview Ave
                               Pittsburgh, P A L5227 -4358




                               The Spa on Port Royal Sound
                               Board of Directors
                               239 Beach City Rd
                               Hilton Head, SC 29926-4707



                               Title Max Corporation
                               15 Bull St
                               Savannah, GA 31401-2685
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                                llilton Head Resort
                                Board of Directorc
                                663 William Hilton Pkwy
                                Hilton Head, SC 29928-3505



                               Jones, Simpson, and Newton
                                PA
                               Attn: Wm Weston J Newton
                               7 Plantation Park Drive Suite 3
                               Bluffton, SC 29910

                               Julie A. Franklin, Esq
                               Po Box 2976
                               Bluffton, SC 29910-2976




                               Komatsu Benefit Dept
                               Mark Harder
                               401 E Greenfield Ave
                               Milwaukee, Wl 532O4-294L



                               Law Office of Scott M. l,Vild
                               LLC
                               Scott M. Wild
                               37 New Orleans Road Suite F
                               Hilton Head Island, SC 29928

                               Morgan Lewis & Bockius LLP
                               Attn: Matt Hawes
                               One Oxford Centre, Thirby-Second FLR
                               Pittsburgh, PA 15219-6401



                               Mutterer Law Firm, LLC
                               lannine M. Muttereq Esq
                               5 Red Cedar Street Suite 102
                               Bluffton, SC 29910



                               Nationstar Mortgage, LLG
                               Attni Bankruptcy Department
                               PO Box 619096
                               Dallas, TX 7526L-9741
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                                Best Law, PA
                               Tara E, Nauful
                               P.O. Box2374
                               Mount Pleasant, SC 29465



                                Bromley Law Firm LLC
                               Evan K. Bromley
                               211 Goethe Rd Ste B
                               Bluffiton, 5C 29910-6014



                               City of Detroit Water and
                               Sewerage Dept
                               735 Randolph St
                               Detroit, MI 48226-2830


                               Consumer Energy Company
                               Attn: Legal Dept
                               1 Energy Plaza Dr
                               Jackson, Ml49201-2357



                               Coyne Oil
                               Attn: Rose
                               513 W 5th St
                               Clare, MI 485L7-9405



                               Detroit Water and Sewerage
                               Dept
                               Po Box 554899
                               Detroit, MI 48255-4899



                               DTE Energy
                               WCB 735 Attention Legal Department
                               1 Energy Plaza
                               Detroit, Ml 48226-I22t


                               Estate At Westbury Owners
                               Assoc, Inc
                               Board of Directors
                               85 Kensington Blvd
                               BluffLon, 5C 299 10 -4884
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                               West-Aircomm FCU
                               c/o Weltman, Weinberg & Reis Co LPA
                               5990 West Creek Road Suite 200
                               Independence, OH 4,4131



                               Westlake Financial
                               2 Equity Way Ste 200
                               Westlake, OH 44145-1045




                               Wright's Custom Body Shop
                               LLC
                               1216 Leeson Ave
                               Cadillac, MI 49601-9097



                               Zeidmans Jewelry
                               Thomas LaBret and/or Current President
                               24810 Evergreen Road
                               Southfield, MI 48075
